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  11
  12                        UNITED STATES DISTRICT COURT
  13                     SOUTHERN DISTRICT OF CALIFORNIA
  14
     STEVEN ROSA, Individually and on            Case No. '22CV1936 CAB MSB
  15 Behalf of All Others Similarly Situated,
  16                                             CLASS ACTION COMPLAINT FOR
                   Plaintiff,                    VIOLATIONS OF THE FEDERAL
  17                                             SECURITIES LAWS
  18         v.

  19 SILVERGATE CAPITAL
  20 CORPORATION, ALAN J. LANE, and              DEMAND FOR JURY TRIAL
     ANTONIO MARTINO
  21
  22         Defendants.

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   1        Plaintiff Steven Rosa (“Plaintiff”), individually and on behalf of all others
   2 similarly situated, by and through his attorneys, alleges the following upon
   3 information and belief, except as to those allegations concerning Plaintiff, which are
   4 alleged upon personal knowledge. Plaintiff’s information and belief is based upon,
   5 among other things, his counsel’s investigation, which includes without limitation:
   6 (a) review and analysis of regulatory filings made by Silvergate Capital Corporation
   7 (“Silvergate” or the “Company”) with the United States (“U.S.”) Securities and
   8 Exchange Commission (“SEC”); (b) review and analysis of press releases and media
   9 reports issued by and disseminated by Silvergate; and (c) review of other publicly
  10 available information concerning Silvergate.
  11                  NATURE OF THE ACTION AND OVERVIEW
  12        1.     This is a class action on behalf of persons and entities that purchased or
  13 otherwise acquired Silvergate securities between November 9, 2021 and November
  14 17, 2022, inclusive (the “Class Period”). Plaintiff pursues claims against the
  15 Defendants under the Securities Exchange Act of 1934 (the “Exchange Act”).
  16        2.     Silvergate is a digital currency company. Its platform, the Silvergate
  17 Exchange Network (“SEN”), provides payments, lending, and funding solutions for
  18 an expanding class of digital currency companies and investors. Silvergate is also the
  19 parent company of Silvergate Bank which provides financial services that include
  20 commercial banking, commercial and residential real estate lending, mortgage
  21 warehouse lending, and commercial business lending.
  22        3.     On November 15, 2022, Marcus Aurelius Research tweeted that
  23 “Recently subpoenaed Silvergate bank records reveal $425 million in transfers from
  24 $SI crypto bank accounts to South American money launderers. Affadavit from
  25 investigation into crypto crime ring linked to smugglers/drug traffickers.”
  26        4.     On this news, the Company’s Class A common stock price fell $6.13, or
  27 17%, to close at $29.36 per share on November 15, 2022, on unusually heavy trading
  28 volume.
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   1        5.     On November 17, 2022, The Bear Cave newsletter released an article
   2 about several companies with potential exposure to recently collapsed cryptocurrency
   3 exchange FTX, including Silvergate. The article highlighted the connection linking
   4 Silvergate to a money laundering operation that transferred $425 million off
   5 cryptocurrency trading platforms.
   6        6.     On this news, the Company’s Class A common stock price fell $3.00, or
   7 10.7%, to close at $24.90 per share on November 18, 2022, on unusually heavy
   8 trading volume.
   9        7.     Throughout the Class Period, Defendants made materially false and/or
  10 misleading statements, as well as failed to disclose material adverse facts about the
  11 Company’s business, operations, and prospects. Specifically, Defendants failed to
  12 disclose to investors: (1) that the Company’s platform lacked sufficient controls and
  13 procedures to detect instances of money laundering; (2) that Silvergate’s customers
  14 had engaged in money laundering in amounts exceeding $425 million; (3) that, as a
  15 result of the foregoing, the Company was reasonably likely to receive regulatory
  16 scrutiny and face damages, including penalties and reputational harm; and (4) that, as
  17 a result of the foregoing, Defendant’s positive statements about the Company’s
  18 business, operations, and prospects were materially misleading and/or lacked a
  19 reasonable basis.
  20                            JURISDICTION AND VENUE
  21        8.     The claims asserted herein arise under Sections 10(b) and 20(a) of the
  22 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
  23 thereunder by the SEC (17 C.F.R. § 240.10b-5).
  24        9.     This Court has jurisdiction over the subject matter of this action pursuant
  25 to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).
  26        10.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)
  27 and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in
  28 furtherance of the alleged fraud or the effects of the fraud have occurred in this
                                      CLASS ACTION COMPLAINT
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   1 Judicial District. Many of the acts charged herein, including the dissemination of
   2 materially false and/or misleading information, occurred in substantial part in this
   3 Judicial District. In addition, the Company’s principal executive offices are located in
   4 this District.
   5        11.       In connection with the acts, transactions, and conduct alleged herein,
   6 Defendants directly and indirectly used the means and instrumentalities of interstate
   7 commerce, including the United States mail, interstate telephone communications,
   8 and the facilities of a national securities exchange.
   9                                            PARTIES
  10        12.       Plaintiff Steven Rosa, as set forth in the accompanying certification,
  11 incorporated by reference herein, purchased Silvergate securities during the Class
  12 Period, and suffered damages as a result of the federal securities law violations and
  13 false and/or misleading statements and/or material omissions alleged herein.
  14        13.       Defendant Silvergate is incorporated under the laws of Maryland with its
  15 principal executive offices located in La Jolla, California. Silvergate’s Class A
  16 common stock trade on the New York Stock Exchange (“NYSE”) under the symbol
  17 “SI,” and its depository shares, each representing a 1/40th interest in a share of
  18 5.375% fixed rate non-cumulative perpetual preferred stock, Series A trade under the
  19 symbol “SI PRA.”
  20        14.       Defendant Alan J. Lane (“Lane”) was the Company’s Chief Executive
  21 Officer (“CEO”) at all relevant times.
  22        15.       Defendant Antonio Martino (“Martino”) was the Company’s Chief
  23 Financial Officer (“CFO”) at all relevant times.
  24        16.       Defendants    Lane    and    Martino     (collectively   the   “Individual
  25 Defendants”), because of their positions with the Company, possessed the power and
  26 authority to control the contents of the Company’s reports to the SEC, press releases
  27 and presentations to securities analysts, money and portfolio managers and
  28 institutional investors, i.e., the market. The Individual Defendants were provided with
                                        CLASS ACTION COMPLAINT
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   1 copies of the Company’s reports and press releases alleged herein to be misleading
   2 prior to, or shortly after, their issuance and had the ability and opportunity to prevent
   3 their issuance or cause them to be corrected. Because of their positions and access to
   4 material non-public information available to them, the Individual Defendants knew
   5 that the adverse facts specified herein had not been disclosed to, and were being
   6 concealed from, the public, and that the positive representations which were being
   7 made were then materially false and/or misleading. The Individual Defendants are
   8 liable for the false statements pleaded herein.
   9                              SUBSTANTIVE ALLEGATIONS
  10                                          Background
  11            17.   Silvergate is a digital currency company. Its platform, the Silvergate
  12 Exchange Network (“SEN”), provides payments, lending, and funding solutions for
  13 an expanding class of digital currency companies and investors. Silvergate is also the
  14 parent company of Silvergate Bank which provides financial services that include
  15 commercial banking, commercial and residential real estate lending, mortgage
  16 warehouse lending, and commercial business lending.
  17                               Materially False and Misleading
  18                         Statements Issued During the Class Period
  19            18.   The Class Period begins on November 9, 2021.1 On that day, the
  20 Company filed its quarterly report on Form 10-Q for the period ended September 30,
  21 2021, stating that “the Company’s disclosure controls and procedures were effective
  22 as of September 30, 2021.”
  23            19.   On February 28, 2022, Silvergate filed its Form 10-K with the SEC for
  24 the year ended December 31, 2021 (the “2021 10-K”). The 2021 10-K touted the
  25 platform’s compliance with regulatory requirements, stating “[a]s of December 31,
  26 2021, we had over 300 prospective digital currency customer leads in various stages
  27
       1
  28       Unless otherwise stated, all emphasis in bold and italics hereinafter is added.

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   1 of our customer onboarding process and pipeline, which includes extensive
   2 regulatory compliance diligence.” The 2021 10-K reiterated that “[o]ur solutions and
   3 services are built on our deep-rooted commitment and proprietary approach to
   4 regulatory compliance,” and that the Company has developed compliance
   5 capabilities, which “include ongoing monitoring of customer activities and
   6 evaluating a market participant’s ability to actively monitor the flow of funds of their
   7 own customers.”
   8         20.   The 2021 10-K also stated that the Company has policies to comply with
   9 applicable regulations regarding money laundering:
  10         Anti-Terrorism, Money Laundering Legislation and OFAC
  11                                       *     *       *
  12         The Bank has established appropriate anti-money laundering and
             customer identification programs. The Bank also maintains records of
  13         cash purchases of negotiable instruments, files reports of certain cash
             transactions exceeding $10,000 (daily aggregate amount), and reports
  14         suspicious activity that might signify money laundering, tax evasion, or
             other criminal activities pursuant to the Bank Secrecy Act. The Bank
  15         otherwise has implemented policies and procedures to comply with the
             foregoing requirements.
  16
                                           *     *       *
  17
             The Bank has implemented policies and procedures to comply with the
  18         foregoing requirements.
  19         21.   The 2021 10-K contained the following risk related to the Digital
  20 Currency Industry, the ability to use digital currency to engage in illegal transactions,
  21 and how the Company’s risk management and compliance framework are meant to
  22 combat this risk:
  23         The characteristics of digital currency have been, and may in the
             future continue to be, exploited to facilitate illegal activity such as
  24         fraud, money laundering, tax evasion and ransomware scams; if any
             of our customers do so or are alleged to have done so, it could adversely
  25         affect us.
  26         Digital currencies and the digital currency industry are relatively new
             and, in many cases, lightly regulated or largely unregulated. Some types
  27         of digital currency have characteristics, such as the speed with which
             digital currency transactions can be conducted, the ability to conduct
  28         transactions without the involvement of regulated intermediaries, the
                                      CLASS ACTION COMPLAINT
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   1        ability to engage in transactions across multiple jurisdictions, the
            irreversible nature of certain digital currency transactions and encryption
   2        technology that anonymizes these transactions, that make digital
            currency particularly susceptible to use in illegal activity such as fraud,
   3        money laundering, tax evasion and ransomware scams. Two prominent
            examples of marketplaces that accepted digital currency payments for
   4        illegal activities include Silk Road, an online marketplace on the dark
            web that, among other things, facilitated the sale of illegal drugs and
   5        forged legal documents using digital currencies and AlphaBay, another
            darknet market that utilized digital currencies to hide the locations of its
   6        servers and identities of its users. Both of these marketplaces were
            investigated and closed by U.S. law enforcement authorities. U.S.
   7        regulators, including the SEC, Commodity Futures Trading Commission
            (the “CFTC”), and Federal Trade Commission (the “FTC”), as well as
   8        non-U.S. regulators, have taken legal action against persons alleged to
            be engaged in Ponzi schemes and other fraudulent schemes involving
   9        digital currencies. In addition, the Federal Bureau of Investigation has
            noted the increasing use of digital currency in various ransomware
  10        scams.
  11        While we believe that our risk management and compliance
            framework, which includes thorough reviews we conduct as part of our
  12        due diligence process (either in connection with onboarding new
            customers or monitoring existing customers), is reasonably designed
  13        to detect any such illicit activities conducted by our potential or existing
            customers (or, in the case of digital currency exchanges, their
  14        customers), we cannot ensure that we will be able to detect any such
            illegal activity in all instances. Because the speed, irreversibility and
  15        anonymity of certain digital currency transactions make them more
            difficult to track, fraudulent transactions may be more likely to occur.
  16        We or our banking counterparties may be specifically targeted by
            individuals seeking to conduct fraudulent transfers, and it may be
  17        difficult or impossible for us to detect and avoid such transactions in
            certain circumstances. If one of our customers (or in the case of digital
  18        currency exchanges, their customers) were to engage in or be accused of
            engaging in illegal activities using digital currency, we could be subject
  19        to various fines and sanctions, including limitations on our activities,
            which could also cause reputational damage and adversely affect our
  20        business, financial condition and results of operations.
  21 (First emphasis in original.)
  22        22.    The 2021 10-K also contained the following risk factor purporting to
  23 warn that the Company would be at risk of enforcement actions if Silvergate failed to
  24 institute proper anti-money laundering programs:
  25        Financial institutions, such as the Bank, face risks of noncompliance
            and enforcement actions related to the Bank Secrecy Act and other
  26        anti-money laundering statutes and regulations (in particular, as such
            statutes and regulations relate to the digital currency industry).
  27
            The Bank Secrecy Act, USA Patriot Act, FinCEN and other laws and
  28        regulations require financial institutions, among other duties, to
                                      CLASS ACTION COMPLAINT
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   1              institute and maintain an effective anti-money laundering program
                  and file suspicious activity and currency transaction reports as
   2              appropriate. To administer the Bank Secrecy Act, FinCEN is authorized
                  to impose significant civil money penalties for violations of those
   3              requirements and has recently engaged in coordinated enforcement
                  efforts with the individual federal banking regulators, as well as the U.S.
   4              Department of Justice, Drug Enforcement Administration and the IRS.
                  There is also increased scrutiny of compliance with the sanctions
   5              programs and rules administered and enforced by the Treasury
                  Department’s Office of Foreign Assets Control.
   6
                  Our compliance with the anti-money laundering laws is in part
   7              dependent on our ability to adequately screen and monitor our customers
                  for their compliance with these laws. Customers associated with our
   8              digital currency initiative may represent an increased compliance risk
                  given the prevalence of money laundering activities using digital
   9              currencies. We have developed enhanced procedures to screen and
                  monitor these customers, which include, but are not limited to, system
  10              monitoring rules tailored to digital currency activities, a system of “red
                  flags” specific to various customer types and activities, the
  11              development of and investment in proprietary technology tools to
                  supplement our third-party transaction monitoring system, customer
  12              risk scoring with risk factors specific to the digital-currency industry,
                  and the use of various blockchain monitoring tools. We believe these
  13              enhanced procedures adequately screen and monitor our customers
                  associated with the digital currency initiative for their compliance with
  14              anti-money laundering laws; however, given the rapid developments in
                  digital currency markets and technologies, there can be no assurance that
  15              these enhanced procedures will be adequate to detect or prevent money
                  laundering activity. If regulators determine that our enhanced procedures
  16              are insufficient to address the financial crimes risks posed by digital
                  currencies, the digital currency initiative may be adversely affected,
  17              which could have a material adverse effect on our business, financial
                  condition and results of operations.
  18
                  To comply with regulations, guidelines and examination procedures in
  19              this area, we have dedicated significant resources to our anti-money
                  laundering program. If our policies, procedures and systems are deemed
  20              deficient, we could be subject to liability, including fines and regulatory
                  actions such as restrictions on our ability to pay dividends and the
  21              inability to obtain regulatory approvals to proceed with certain aspects
                  of our business plans, including acquisitions and de novo branching.
  22
                  23.   The 2021 10-K stated that management determined that “as of December
  23
       31, 2021, the Company maintained effective internal control over financial reporting
  24
       . . . .”
  25
                  24.   On May 5, 2022, Silvergate filed its Form 10-Q with the SEC for the
  26
       period ended March 31, 2022 (the “1Q22 10-Q”), incorporating by reference the
  27
       previously discussed risks discussed in the 2021 10-K. The 1Q22 10-Q also
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   1 reaffirmed statements from the 2021 10-K touting the Company’s platform’s
   2 compliance with regulatory requirements, stating “[a]s of March 31, 2022, we had
   3 over 300 prospective digital currency customer leads in various stages of our customer
   4 onboarding process and pipeline, which includes extensive regulatory compliance
   5 diligence.”
   6        25.    The 1Q22 10-Q stated that there were no changes to the Company’s
   7 internal control over financial reporting and affirmed that “the Company’s disclosure
   8 controls and procedures were effective as of March 31, 2022.”
   9        26.    On August 8, 2022, the Company filed its Form 10-Q with the SEC for
  10 the period ended June 30, 2022 (the “2Q22 10-Q”), incorporating by reference the
  11 previously discussed risks discussed in the 2021 10-K.
  12        27.    The 2Q22 10-Q also reaffirmed statements from the 2021 10-K touting
  13 the Company’s platform’s compliance with regulatory requirements, stating “[a]s of
  14 June 30, 2022, we had over 300 prospective digital currency customer leads in various
  15 stages of our customer onboarding process and pipeline, which includes extensive
  16 regulatory compliance diligence.”
  17        28.    The 2Q22 10-Q reaffirmed that there were no changes to the Company’s
  18 internal control over financial reporting and that “the Company’s disclosure controls
  19 and procedures were effective as of June 30, 2022.”
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   1        29.    On November 1, 2022, Silvergate held an investor presentation, which
   2 was filed as Exhibit 99.1 to a Form 8-K filed with the SEC the same day. It stated the
   3 following about compliance and risk management.
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  12        30.    On November 7, 2022, Silvergate filed its Form 10-Q with the SEC for
  13 the period ended September 30, 2022 (the “3Q22 10-Q”), incorporating by reference
  14 the previously discussed risks discussed in the 2021 10-K. The 3Q22 10-Q also
  15 reaffirmed statements from the 2021 10-K touting the Company’s platform’s
  16 compliance with regulatory requirements, stating “[a]s of September 30, 2022, we
  17 had over 300 prospective digital currency customer leads in various stages of our
  18 customer onboarding process and pipeline, which includes extensive regulatory
  19 compliance diligence.”
  20        31.    The 3Q22 10-Q reaffirmed that there were no changes to the Company’s
  21 internal control over financial reporting and that “the Company’s disclosure controls
  22 and procedures were effective as of September 30, 2022.”
  23        32.    On November 16, 2022, Silvergate issued a press release providing,
  24 among other things, a mid-quarter update. The press release stated:
  25        “Silvergate’s platform, including our risk management and compliance
            infrastructure, was built to support our clients during times of market
  26
            volatility and transformation,” said Alan Lane, CEO of Silvergate.
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   1          33.   The above statements identified in ¶¶ 18-32 were materially false and/or
   2 misleading, and failed to disclose material adverse facts about the Company’s
   3 business, operations, and prospects. Specifically, Defendants failed to disclose to
   4 investors: (1) that the Company’s platform lacked sufficient controls and procedures
   5 to detect instances of money laundering; (2) that Silvergate’s customers had engaged
   6 in money laundering in amounts exceeding $425 million; (3) that, as a result of the
   7 foregoing, the Company was reasonably likely to receive regulatory scrutiny and face
   8 damages, including penalties and reputational harm and (4) that, as a result of the
   9 foregoing, Defendant’s positive statements about the Company’s business,
  10 operations, and prospects were materially misleading and/or lacked a reasonable
  11 basis.
  12                       Disclosures at the End of the Class Period
  13          34.   On November 15, 2022, Marcus Aurelius Research tweeted that
  14 “Recently subpoenaed Silvergate bank records reveal $425 million in transfers from
  15 $SI crypto bank accounts to South American money launderers. Affadavit from
  16 investigation into crypto crime ring linked to smugglers/drug traffickers.” The tweet
  17 contained a link to an August 2022 forfeiture application for probable cause filed in
  18 Broward County, Florida. The forfeiture application connected Silvergate to a money
  19 laundering operation and stated, in relevant part:
  20          In June 2022, your Affiant subpoenaed bank account records for
              multiple digital cryptocurrency trading platforms held at Silvergate
  21          Bank. The records for those accounts held in the name of OSL Digital
              LTD, OSL SG PTE LTD, Paxos Global PTE LTD, and Paxos Trust
  22          Company LLC. In these records were the wire transfer payment details
              from the various operating accounts which represented the funds being
  23          transferred off the respective cryptocurrency platforms and into the US
              financial system.
  24
                    Your Affiant examined the records produced by Silvergate Bank
  25          found the following:
  26                 (i) During the period of September 2021 to June 2022 ten
              companies had transferred a total of over $425 million dollars off these
  27          cryptocurrency trading platforms into accounts held at different US
              banks.
  28
                                      CLASS ACTION COMPLAINT
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   1              (ii) The accounts of these ten companies were receiving funds in
            the same pattern as those previously identified and seized (discussed
   2        above) by the MLTF for being used to facilitate the laundering of illicit
            funds
   3
                    (iii) In addition to the transaction pattern of these ten companies
   4        being consistent with those previously identified as being used to
            facilitate money laundering, your Affiant noted that the transaction
   5        patterns of these ten companies were not consistent with the transaction
            patterns of thousands of other persons and businesses using the same
   6        digital cryptocurrency trading platforms contained in the same records
   7        35.   On this news, the Company’s Class A common stock price fell $6.13, or
   8 17%, to close at $29.36 per share on November 15, 2022, on unusually heavy trading
   9 volume.
  10        36.   On November 17, 2022, The Bear Cave newsletter released an article
  11 about several companies with potential exposures to recently collapsed
  12 cryptocurrency exchange FTX, including Silvergate. In addition to the money
  13 laundering operation linked to Silvergate that transferred $425 million off
  14 cryptocurrency trading platforms, it drew attention to potential violations of
  15 Silvergate’s anti-nepotism policy:
  16        In February 2022, Silvergate, which has ~$13 billion in deposits, boasted
            that its exchange network “recently crossed $1 trillion in cumulative
  17        payment volumes [and] is integral to the everyday operations of our
            digital currency customers.”
  18
            Last week, Silvergate replaced its Chief Risk Officer with its Chief
  19        Operating Officer. The former Chief Risk Officer was Tyler Pearson.
            Mr. Pearson is the son-in-law of Silvergate’s CEO Alan Lane.
  20        Silvergate’s Bank Manager of Correspondent Banking is Jason Brenier.
            Mr. Brenier is also the son-in-law of Silvergate’s CEO Alan Lane. And
  21        Silvergate’s Chief Technology Officer, Chris Lane, is the son of Alan
            Lane. In its most recent proxy filing, Silvergate said the employments
  22        were in compliance with its “Anti-Nepotism Policy.”
  23        37.   On this news, the Company’s Class A common stock price fell $3.00, or
  24 10.7%, to close at $24.90 per share on November 18, 2022, on unusually heavy
  25 trading volume.
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   1                             CLASS ACTION ALLEGATIONS
   2         38.   Plaintiff brings this action as a class action pursuant to Federal Rule of
   3 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and
   4 entities that purchased or otherwise acquired Silvergate securities between November
   5 9, 2021 and November 17, 2022, inclusive, and who were damaged thereby (the
   6 “Class”). Excluded from the Class are Defendants, the officers and directors of the
   7 Company, at all relevant times, members of their immediate families and their legal
   8 representatives, heirs, successors, or assigns, and any entity in which Defendants have
   9 or had a controlling interest.
  10         39.   The members of the Class are so numerous that joinder of all members
  11 is impracticable. Throughout the Class Period, Silvergate’s shares actively traded on
  12 the NYSE. While the exact number of Class members is unknown to Plaintiff at this
  13 time and can only be ascertained through appropriate discovery, Plaintiff believes that
  14 there are at least hundreds or thousands of members in the proposed Class. Millions
  15 of Silvergate shares were traded publicly during the Class Period on the NYSE.
  16 Record owners and other members of the Class may be identified from records
  17 maintained by Silvergate or its transfer agent and may be notified of the pendency of
  18 this action by mail, using the form of notice similar to that customarily used in
  19 securities class actions.
  20         40.   Plaintiff’s claims are typical of the claims of the members of the Class
  21 as all members of the Class are similarly affected by Defendants’ wrongful conduct
  22 in violation of federal law that is complained of herein.
  23         41.   Plaintiff will fairly and adequately protect the interests of the members
  24 of the Class and has retained counsel competent and experienced in class and
  25 securities litigation.
  26         42.   Common questions of law and fact exist as to all members of the Class
  27 and predominate over any questions solely affecting individual members of the Class.
  28 Among the questions of law and fact common to the Class are:
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   1               (a)    whether the federal securities laws were violated by Defendants’
   2 acts as alleged herein;
   3               (b)    whether statements made by Defendants to the investing public
   4 during the Class Period omitted and/or misrepresented material facts about the
   5 business, operations, and prospects of Silvergate; and
   6               (c)    to what extent the members of the Class have sustained damages
   7 and the proper measure of damages.
   8         43.   A class action is superior to all other available methods for the fair and
   9 efficient adjudication of this controversy since joinder of all members is
  10 impracticable. Furthermore, as the damages suffered by individual Class members
  11 may be relatively small, the expense and burden of individual litigation makes it
  12 impossible for members of the Class to individually redress the wrongs done to them.
  13 There will be no difficulty in the management of this action as a class action.
  14                           UNDISCLOSED ADVERSE FACTS
  15         44.   The market for Silvergate’s securities was open, well-developed and
  16 efficient at all relevant times. As a result of these materially false and/or misleading
  17 statements, and/or failures to disclose, Silvergate’s securities traded at artificially
  18 inflated prices during the Class Period. Plaintiff and other members of the Class
  19 purchased or otherwise acquired Silvergate’s securities relying upon the integrity of
  20 the market price of the Company’s securities and market information relating to
  21 Silvergate, and have been damaged thereby.
  22         45.   During the Class Period, Defendants materially misled the investing
  23 public, thereby inflating the price of Silvergate’s securities, by publicly issuing false
  24 and/or misleading statements and/or omitting to disclose material facts necessary to
  25 make Defendants’ statements, as set forth herein, not false and/or misleading. The
  26 statements and omissions were materially false and/or misleading because they failed
  27 to disclose material adverse information and/or misrepresented the truth about
  28 Silvergate’s business, operations, and prospects as alleged herein.
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   1         46.   At all relevant times, the material misrepresentations and omissions
   2 particularized in this Complaint directly or proximately caused or were a substantial
   3 contributing cause of the damages sustained by Plaintiff and other members of the
   4 Class. As described herein, during the Class Period, Defendants made or caused to
   5 be made a series of materially false and/or misleading statements about Silvergate’s
   6 financial well-being and prospects. These material misstatements and/or omissions
   7 had the cause and effect of creating in the market an unrealistically positive
   8 assessment of the Company and its financial well-being and prospects, thus causing
   9 the Company’s securities to be overvalued and artificially inflated at all relevant
  10 times. Defendants’ materially false and/or misleading statements during the Class
  11 Period resulted in Plaintiff and other members of the Class purchasing the Company’s
  12 securities at artificially inflated prices, thus causing the damages complained of herein
  13 when the truth was revealed.
  14                                  LOSS CAUSATION
  15         47.   Defendants’ wrongful conduct, as alleged herein, directly and
  16 proximately caused the economic loss suffered by Plaintiff and the Class.
  17         48.   During the Class Period, Plaintiff and the Class purchased Silvergate’s
  18 securities at artificially inflated prices and were damaged thereby. The price of the
  19 Company’s securities significantly declined when the misrepresentations made to the
  20 market, and/or the information alleged herein to have been concealed from the market,
  21 and/or the effects thereof, were revealed, causing investors’ losses.
  22                             SCIENTER ALLEGATIONS
  23         49.   As alleged herein, Defendants acted with scienter since Defendants knew
  24 that the public documents and statements issued or disseminated in the name of the
  25 Company were materially false and/or misleading; knew that such statements or
  26 documents would be issued or disseminated to the investing public; and knowingly
  27 and substantially participated or acquiesced in the issuance or dissemination of such
  28 statements or documents as primary violations of the federal securities laws. As set
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   1 forth elsewhere herein in detail, the Individual Defendants, by virtue of their receipt
   2 of information reflecting the true facts regarding Silvergate, their control over, and/or
   3 receipt and/or modification of Silvergate’s allegedly materially misleading
   4 misstatements and/or their associations with the Company which made them privy to
   5 confidential proprietary information concerning Silvergate, participated in the
   6 fraudulent scheme alleged herein.
   7               APPLICABILITY OF PRESUMPTION OF RELIANCE
   8                     (FRAUD-ON-THE-MARKET DOCTRINE)
   9         50.   The market for Silvergate’s securities was open, well-developed and
  10 efficient at all relevant times. As a result of the materially false and/or misleading
  11 statements and/or failures to disclose, Silvergate’s securities traded at artificially
  12 inflated prices during the Class Period. On November 19, 2021, the Company’s share
  13 price closed at a Class Period high of $219.75 per share. Plaintiff and other members
  14 of the Class purchased or otherwise acquired the Company’s securities relying upon
  15 the integrity of the market price of Silvergate’s securities and market information
  16 relating to Silvergate, and have been damaged thereby.
  17         51.   During the Class Period, the artificial inflation of Silvergate’s shares was
  18 caused by the material misrepresentations and/or omissions particularized in this
  19 Complaint causing the damages sustained by Plaintiff and other members of the Class.
  20 As described herein, during the Class Period, Defendants made or caused to be made
  21 a series of materially false and/or misleading statements about Silvergate’s business,
  22 prospects, and operations. These material misstatements and/or omissions created an
  23 unrealistically positive assessment of Silvergate and its business, operations, and
  24 prospects, thus causing the price of the Company’s securities to be artificially inflated
  25 at all relevant times, and when disclosed, negatively affected the value of the
  26 Company shares. Defendants’ materially false and/or misleading statements during
  27 the Class Period resulted in Plaintiff and other members of the Class purchasing the
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   1 Company’s securities at such artificially inflated prices, and each of them has been
   2 damaged as a result.
   3         52.   At all relevant times, the market for Silvergate’s securities was an
   4 efficient market for the following reasons, among others:
   5               (a)    Silvergate shares met the requirements for listing, and was listed
   6 and actively traded on the NYSE, a highly efficient and automated market;
   7               (b)    As a regulated issuer, Silvergate filed periodic public reports with
   8 the SEC and/or the NYSE;
   9               (c)    Silvergate regularly communicated with public investors via
  10 established market communication mechanisms, including through regular
  11 dissemination of press releases on the national circuits of major newswire services
  12 and through other wide-ranging public disclosures, such as communications with the
  13 financial press and other similar reporting services; and/or
  14               (d)    Silvergate was followed by securities analysts employed by
  15 brokerage firms who wrote reports about the Company, and these reports were
  16 distributed to the sales force and certain customers of their respective brokerage firms.
  17 Each of these reports was publicly available and entered the public marketplace.
  18         53.   As a result of the foregoing, the market for Silvergate’s securities
  19 promptly digested current information regarding Silvergate from all publicly
  20 available sources and reflected such information in Silvergate’s share price. Under
  21 these circumstances, all purchasers of Silvergate’s securities during the Class Period
  22 suffered similar injury through their purchase of Silvergate’s securities at artificially
  23 inflated prices and a presumption of reliance applies.
  24         54.   A Class-wide presumption of reliance is also appropriate in this action
  25 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States,
  26 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded on
  27 Defendants’ material misstatements and/or omissions. Because this action involves
  28 Defendants’ failure to disclose material adverse information regarding the Company’s
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   1 business operations and financial prospects—information that Defendants were
   2 obligated to disclose—positive proof of reliance is not a prerequisite to recovery. All
   3 that is necessary is that the facts withheld be material in the sense that a reasonable
   4 investor might have considered them important in making investment decisions.
   5 Given the importance of the Class Period material misstatements and omissions set
   6 forth above, that requirement is satisfied here.
   7                                  NO SAFE HARBOR
   8         55.   The statutory safe harbor provided for forward-looking statements under
   9 certain circumstances does not apply to any of the allegedly false statements pleaded
  10 in this Complaint. The statements alleged to be false and misleading herein all relate
  11 to then-existing facts and conditions. In addition, to the extent certain statements
  12 alleged to be false may be characterized as forward looking, they were not identified
  13 as “forward-looking statements” when made and there were no meaningful cautionary
  14 statements identifying important factors that could cause actual results to differ
  15 materially from those in the purportedly forward-looking statements. In the
  16 alternative, to the extent that the statutory safe harbor is determined to apply to any
  17 forward-looking statements pleaded herein, Defendants are liable for those false
  18 forward-looking statements because at the time each of those forward-looking
  19 statements was made, the speaker had actual knowledge that the forward-looking
  20 statement was materially false or misleading, and/or the forward-looking statement
  21 was authorized or approved by an executive officer of Silvergate who knew that the
  22 statement was false when made.
  23                                       FIRST CLAIM
  24                  Violation of Section 10(b) of The Exchange Act and
  25                         Rule 10b-5 Promulgated Thereunder
  26                                 Against All Defendants
  27         56.   Plaintiff repeats and re-alleges each and every allegation contained
  28 above as if fully set forth herein.
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   1         57.   During the Class Period, Defendants carried out a plan, scheme and
   2 course of conduct which was intended to and, throughout the Class Period, did: (i)
   3 deceive the investing public, including Plaintiff and other Class members, as alleged
   4 herein; and (ii) cause Plaintiff and other members of the Class to purchase Silvergate’s
   5 securities at artificially inflated prices. In furtherance of this unlawful scheme, plan
   6 and course of conduct, Defendants, and each defendant, took the actions set forth
   7 herein.
   8         58.   Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
   9 made untrue statements of material fact and/or omitted to state material facts
  10 necessary to make the statements not misleading; and (iii) engaged in acts, practices,
  11 and a course of business which operated as a fraud and deceit upon the purchasers of
  12 the Company’s securities in an effort to maintain artificially high market prices for
  13 Silvergate’s securities in violation of Section 10(b) of the Exchange Act and Rule
  14 10b-5. All Defendants are sued either as primary participants in the wrongful and
  15 illegal conduct charged herein or as controlling persons as alleged below.
  16         59.   Defendants, individually and in concert, directly and indirectly, by the
  17 use, means or instrumentalities of interstate commerce and/or of the mails, engaged
  18 and participated in a continuous course of conduct to conceal adverse material
  19 information about Silvergate’s financial well-being and prospects, as specified herein.
  20         60.   Defendants employed devices, schemes and artifices to defraud, while in
  21 possession of material adverse non-public information and engaged in acts, practices,
  22 and a course of conduct as alleged herein in an effort to assure investors of
  23 Silvergate’s value and performance and continued substantial growth, which included
  24 the making of, or the participation in the making of, untrue statements of material
  25 facts and/or omitting to state material facts necessary in order to make the statements
  26 made about Silvergate and its business, operations, and future prospects in light of the
  27 circumstances under which they were made, not misleading, as set forth more
  28 particularly herein, and engaged in transactions, practices and a course of business
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   1 which operated as a fraud and deceit upon the purchasers of the Company’s securities
   2 during the Class Period.
   3         61.   Each of the Individual Defendants’ primary liability and controlling
   4 person liability arises from the following facts: (i) the Individual Defendants were
   5 high-level executives and/or directors at the Company during the Class Period and
   6 members of the Company’s management team or had control thereof; (ii) each of
   7 these defendants, by virtue of their responsibilities and activities as a senior officer
   8 and/or director of the Company, was privy to and participated in the creation,
   9 development and reporting of the Company’s internal budgets, plans, projections
  10 and/or reports; (iii) each of these defendants enjoyed significant personal contact and
  11 familiarity with the other defendants and was advised of, and had access to, other
  12 members of the Company’s management team, internal reports and other data and
  13 information about the Company’s finances, operations, and sales at all relevant times;
  14 and (iv) each of these defendants was aware of the Company’s dissemination of
  15 information to the investing public which they knew and/or recklessly disregarded
  16 was materially false and misleading.
  17         62.   Defendants had actual knowledge of the misrepresentations and/or
  18 omissions of material facts set forth herein, or acted with reckless disregard for the
  19 truth in that they failed to ascertain and to disclose such facts, even though such facts
  20 were available to them. Such defendants’ material misrepresentations and/or
  21 omissions were done knowingly or recklessly and for the purpose and effect of
  22 concealing Silvergate’s financial well-being and prospects from the investing public
  23 and supporting the artificially inflated price of its securities. As demonstrated by
  24 Defendants’ overstatements and/or misstatements of the Company’s business,
  25 operations, financial well-being, and prospects throughout the Class Period,
  26 Defendants, if they did not have actual knowledge of the misrepresentations and/or
  27 omissions alleged, were reckless in failing to obtain such knowledge by deliberately
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   1 refraining from taking those steps necessary to discover whether those statements
   2 were false or misleading.
   3         63.   As a result of the dissemination of the materially false and/or misleading
   4 information and/or failure to disclose material facts, as set forth above, the market
   5 price of Silvergate’s securities was artificially inflated during the Class Period. In
   6 ignorance of the fact that market prices of the Company’s securities were artificially
   7 inflated, and relying directly or indirectly on the false and misleading statements made
   8 by Defendants, or upon the integrity of the market in which the securities trades,
   9 and/or in the absence of material adverse information that was known to or recklessly
  10 disregarded by Defendants, but not disclosed in public statements by Defendants
  11 during the Class Period, Plaintiff and the other members of the Class acquired
  12 Silvergate’s securities during the Class Period at artificially high prices and were
  13 damaged thereby.
  14         64.   At the time of said misrepresentations and/or omissions, Plaintiff and
  15 other members of the Class were ignorant of their falsity, and believed them to be
  16 true. Had Plaintiff and the other members of the Class and the marketplace known
  17 the truth regarding the problems that Silvergate was experiencing, which were not
  18 disclosed by Defendants, Plaintiff and other members of the Class would not have
  19 purchased or otherwise acquired their Silvergate securities, or, if they had acquired
  20 such securities during the Class Period, they would not have done so at the artificially
  21 inflated prices which they paid.
  22         65.   By virtue of the foregoing, Defendants violated Section 10(b) of the
  23 Exchange Act and Rule 10b-5 promulgated thereunder.
  24         66.   As a direct and proximate result of Defendants’ wrongful conduct,
  25 Plaintiff and the other members of the Class suffered damages in connection with
  26 their respective purchases and sales of the Company’s securities during the Class
  27 Period.
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   1                                       SECOND CLAIM
   2                    Violation of Section 20(a) of The Exchange Act
   3                           Against the Individual Defendants
   4         67.   Plaintiff repeats and re-alleges each and every allegation contained
   5 above as if fully set forth herein.
   6         68.   Individual Defendants acted as controlling persons of Silvergate within
   7 the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
   8 high-level positions and their ownership and contractual rights, participation in,
   9 and/or awareness of the Company’s operations and intimate knowledge of the false
  10 financial statements filed by the Company with the SEC and disseminated to the
  11 investing public, Individual Defendants had the power to influence and control and
  12 did influence and control, directly or indirectly, the decision-making of the Company,
  13 including the content and dissemination of the various statements which Plaintiff
  14 contends are false and misleading. Individual Defendants were provided with or had
  15 unlimited access to copies of the Company’s reports, press releases, public filings,
  16 and other statements alleged by Plaintiff to be misleading prior to and/or shortly after
  17 these statements were issued and had the ability to prevent the issuance of the
  18 statements or cause the statements to be corrected.
  19         69.   In particular, Individual Defendants had direct and supervisory
  20 involvement in the day-to-day operations of the Company and, therefore, had the
  21 power to control or influence the particular transactions giving rise to the securities
  22 violations as alleged herein, and exercised the same.
  23         70.   As set forth above, Silvergate and Individual Defendants each violated
  24 Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint.
  25 By virtue of their position as controlling persons, Individual Defendants are liable
  26 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of
  27 Defendants’ wrongful conduct, Plaintiff and other members of the Class suffered
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   1 damages in connection with their purchases of the Company’s securities during the
   2 Class Period.
   3                               PRAYER FOR RELIEF
   4        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
   5        (a)    Determining that this action is a proper class action under Rule 23 of the
   6 Federal Rules of Civil Procedure;
   7        (b)    Awarding compensatory damages in favor of Plaintiff and the other
   8 Class members against all defendants, jointly and severally, for all damages sustained
   9 as a result of Defendants’ wrongdoing, in an amount to be proven at trial, including
  10 interest thereon;
  11        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
  12 incurred in this action, including counsel fees and expert fees; and
  13        (d)    Such other and further relief as the Court may deem just and proper.
  14                             JURY TRIAL DEMANDED
  15        Plaintiff hereby demands a trial by jury.
  16 Dated: December 7, 2022                 By: /s/ Pavithra Rajesh
                                             GLANCY PRONGAY & MURRAY LLP
  17
                                             Robert V. Prongay
  18                                         Charles H. Linehan
                                             Pavithra Rajesh
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  27                                         (770) 392-0029 (fax

  28                                         Attorneys for Plaintiff Steven Rosa

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                                 CERTIFICATION PURSUANT
                               TO FEDERAL SECURITIES LAWS


        1.      I, Steven Rosa, make this declaration pursuant to Section 27(a)(2) of the Securities

 Act of 1933 (“Securities Act”) and/or Section 21D(a)(2) of the Securities Exchange Act of 1934

 (“Exchange Act”) as amended by the Private Securities Litigation Reform Act of 1995.

        2.      I have reviewed a Complaint against Silvergate Capital Corporation (“Silvergate”)

 and authorize the filing of a comparable complaint on my behalf.

        3.      I did not purchase or acquire Silvergate securities at the direction of plaintiffs’

 counsel or in order to participate in any private action arising under the Securities Act or Exchange

 Act.

        4.      I am willing to serve as a representative party on behalf of a Class of investors who

 purchased or otherwise acquired Silvergate securities during the class period, including providing

 testimony at deposition and trial, if necessary. I understand that the Court has the authority to

 select the most adequate lead plaintiff in this action.

        5.      The attached sheet lists all of my transactions in Silvergate securities during the

 Class Period as specified in the Complaint.

        6.      During the three-year period preceding the date on which this Certification is

 signed, I have not served or sought to serve as a representative party on behalf of a class under the

 federal securities laws.

        7.      I agree not to accept any payment for serving as a representative party on behalf of

 the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

 reasonable costs and expenses directly relating to the representation of the class as ordered or

 approved by the Court.
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        8.      I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct.




             12/06/2022
 Executed _____________________________
              (Date)



                                             _______________________________________
                                                   (Signature)


                                                      Steven Rosa
                                             _______________________________________
                                                   (Type or Print Name)
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            Steven Rosa's Transactions in Silvergate Capital Corporation (SI)
         Date           Transaction Type           Quantity             Unit Price
      11/26/2021             Bought                    76               $197.0000
      12/2/2021              Bought                   24                $193.0000
      12/2/2021              Bought                   30                $191.5000
      12/3/2021              Bought                   70                $186.0000
      12/3/2021              Bought                   100               $168.5000
      12/9/2021              Bought                   100               $158.0000
      12/9/2021              Bought                   100               $151.0000
      12/9/2021              Bought                   100               $148.0000
      12/20/2021             Bought                   100               $132.0000
       1/5/2022              Bought                   100               $139.0000
      1/21/2022              Bought                   200                $99.0000
